The Toledo Newspaper Company, Petitioner, v. Commissioner of Internal Revenue, Respondent.  San Diego Sun Publishing Company, Ltd., Petitioner, v. Commissioner of Internal Revenue, Respondent.  The E. W. Scripps Company, Transferee of San Diego Sun Publishing Company, Ltd., Petitioner, v. Commissioner of Internal Revenue, RespondentToledo Newspaper Co. v. CommissionerDocket Nos. 110076, 110077, 110078United States Tax Court2 T.C. 794; 1943 U.S. Tax Ct. LEXIS 48; September 30, 1943, Promulgated *48 Decisions will be entered under Rule 50.  Where during the taxable year a taxpayer corporation engaged in the publication of a newspaper entered into a contract to sell all of its intangible assets for a specified consideration but no tangible assets, and in the same contract agreed for a separate specified consideration that it would discontinue publication of its newspaper on a given date, that it would not resume publication of any newspaper in the city of publication for a period of ten years, and that it would not permit its plant or equipment to be used for the publication of any newspaper in said city for a like period, held, the entire consideration received by the taxpayer in the sale should be treated as a whole and taxpayer's gain from the transaction should be determined by subtracting the March 1, 1913, value of its intangibles, including good will, from the total consideration received. The March 1, 1913, value of taxpayer's intangibles, including good will, determined from the evidence.  Paul Patterson, Esq., and W. H. Bemis, Esq., for the petitioners.John H. Pigg, Esq., for the respondent.  Black, Judge.  BLACK *795  These proceedings were*49  consolidated.In Docket No. 110076 the respondent determined deficiencies in income and excess profits taxes against the Toledo Newspaper Co. for the calendar year 1938 in the amounts of $ 93,240.95 and $ 59,898.69, respectively.In Docket No. 110077 the respondent determined deficiencies in income and excess profits taxes against San Diego Sun Publishing Co., Ltd., for the calendar year 1939 in the amounts of $ 62,776.98 and $ 45,655.99, respectively.In Docket No. 110078 the respondent determined that the E. W. Scripps Co. is liable as transferee for deficiencies in income and excess profits taxes in the respective amounts of $ 62,776.98 and $ 45,655.99 and for interest thereon due from San Diego Sun Publishing Co., Ltd., for the calendar year 1939.  Transferee liability is admitted for any tax and interest, if any, owed by the transferorIn a statement attached to the deficiency notice in Docket No. 110076, the respondent made adjustments to net income and explanations thereof, as follows:Net loss disclosed by return$ 213,393.62Unallowable deductions and additional income:(a) Income received under sales agreement with The ToledoBlade Company, dated August 1, 1938713,554.16Total$ 500,160.54Nontaxable income and additional deductions:(b) Contributions423.00Net income adjusted$ 499,737.54*50  Explanation of Adjustments to Net Income(a) Your taxable income for the year 1938 has been increased by the following amounts, representing consideration received by you under a sales agreement with The Toledo Blade Company, dated August 1, 1938:(1) Gain on sale of the name, "The Toledo News-Bee," thecirculation, route, subscription, dealer and carrier$ 100,000.00lists, etc(2) Income received for discontinuing publication of yournewspaper and refraining from competition613,554.16Total$ 713,554.16(b) * * **796  By appropriate assignments of error the petitioner in Docket No. 110076 contests adjustment (a).In a statement attached to the deficiency notice in Docket No. 110077, the respondent made adjustments to net income and explanations thereof, as follows:Net loss disclosed by return$ 101,965.57Unallowable deductions and additional income:(a) Income received under a sales agreement with TheUnion-Tribune Publishing Company, dated November 17, 1939483,180.46Total$ 381,214.89Nontaxable income and additional deductions:(b) Contributions595.32Net income adjusted$ 380,619.57Explanation of Adjustments*51  to Net Income(a) Your taxable income for the year 1939 has been increased by the following amounts, representing consideration received by you under a sales agreement with The Union-Tribune Publishing Company, dated November 17, 1939:(1) Gain on sale of the name, "The San Diego Sun," and thecirculation, route, subscription, dealer and carrier lists,etc$ 120,000.00(2) Income received for discontinuing publication of yournewspaper and refraining from competition363,180.46Total$ 483,180.46(b) * * *By appropriate assignments of error the petitioners in Docket Nos. 110077 and 110078 contest adjustment (a).FINDINGS OF FACT.Facts Concerning the Toledo Newspaper Co.The Toledo Newspaper Co., hereinafter sometimes referred to as "Toledo," is an Ohio corporation, with its principal office at Cincinnati, Ohio.  It filed its corporation income and excess profits tax return for the calendar year 1938 with the collector for the first district of Ohio.  Its books are kept on the cash receipts and disbursements basis.The business of Toledo was the publication of the daily newspaper "The Toledo News-Bee" in the city of Toledo, Ohio, from 1903 to August*52  2, 1938, inclusive.On August 1, 1938, the Toledo Blade Co., an Ohio corporation, hereinafter sometimes referred to as "the Blade," entered into a written contract as first party with Toledo as second party and the E. W. Scripps Co., an Ohio corporation, as third party.  The contract provided in part as follows:*797  Whereas, The Toledo Blade Company is the owner and publisher of an evening newspaper in the City of Toledo, Ohio, known as The Toledo Blade, and The Toledo Newspaper Company is the owner and publisher of an evening newspaper in the said city of Toledo, Ohio, known as the Toledo News-Bee, and First Party desires to obtain from Second Party the discontinuance of The Toledo News-Bee and the agreement of Second Party that it shall not permit its plant and equipment in Toledo to be used during the period hereinafter stated for the publication of any newspaper in Toledo; andWhereas, First Party also desires to purchase the name, "The Toledo News-Bee" and the circulation, route, subscription, dealer and carrier lists and other assets hereinafter referred to, all upon the terms and conditions hereinafter set forth;Now, therefore, the parties hereto mutually agree as follows: *53  I-(a) For and in consideration of the payment by First Party to Second Party of the sum of Seven Hundred and Eighty Thousand ($ 780,000) Dollars as hereinafter set forth, Second Party agrees that for the period of ten (10) years from and after the closing date hereinafter named, it will discontinue publication of The Toledo News-Bee from and after the publication of its regular editions on Tuesday, August 2, 1938 (hereinafter referred to as the closing date), and Second Party further agrees that it will not resume publication of any newspaper in the City of Toledo, Ohio, during the period of ten (10) years from and after said closing date; and Second Party further agrees that it will not, without the written consent of First Party, permit its plant or equipment to be used for the publication of any newspaper in the City of Toledo, Ohio, during the said ten (10) year period.Paragraph I (b) of the contract provided that the consideration of $ 780,000 was payable in 20 quarterly installments of $ 12,500 each, beginning February 1, 1939, without interest, and 20 quarterly installments of $ 26,500 each, beginning February 1, 1944, without interest; that all the payments were to be represented*54  by 40 noninterest-bearing promissory notes dated August 1, 1938, payable to the order of Toledo; and that the notes "shall be jointly and severally and unconditionally guaranteed by Paul Block and Associates, Inc., a corporation * * * and by Paul Block, an individual, which guarantees First Party hereby agrees to obtain." The contract then continued in part as follows:II. - Provided there shall be no default by First Party in making prompt payment of the notes to be given to Second Party under paragraph I hereof, The E. W. Scripps Company, Third Party hereto, covenants and agrees that for the period of ten (10) years from and after the closing date, August 2, 1938, it will not, directly or indirectly, without the prior written consent of First Party, commence or become financially interested in any way in the establishment or publication in the City of Toledo, Ohio and Lucas County, Ohio, of any newspaper not in existence at the present time.  It is understood and agreed by and between the parties hereto that this agreement by The E. W. Scripps Company is made by it as an inducement to The Toledo Blade Company to enter into this agreement with the Toledo Newspaper Company, in which*55  The E. W. Scripps Company owns and holds a majority of the Class A (voting) stock.III. - (a) First Party hereby agrees to and does hereby purchase from Second Party, and Second Party hereby agrees to and does hereby sell, assign *798  and transfer to First Party, the name and title of the newspaper "The Toledo News-Bee" now owned by Second Party, together with all rights and privileges necessarily connected therewith, including any and all trade-marks or copyrights of said name, provided however that it is understood and agreed that the name and/or emblem of Scripps-Howard are not included hereunder; and also all circulation, route, subscription, dealer and carrier lists, copies of all statements of account and copies of all records relating to or concerned with the sale, distribution, delivery and returns of said newspaper "The Toledo News-Bee" in the territory in which it circulates on the closing date, it being expressly understood that no other assets of Second Party are sold or transferred to First Party hereunder.  Second Party agrees that the assets to be sold to First Party shall be free and clear of all liens and encumbrances.(b) For and in consideration of the sale*56  and transfer of the aforesaid assets to First Party by Second Party, First Party further agrees to pay Second Party the total sum of One Hundred Thousand ($ 100,000) Dollars, payable at the rate of Two Thousand Five Hundred ($ 2,500) Dollars quarterly beginning February 1, 1939, all such payments to be represented by a series of forty (40) promissory notes (to be known as Series B) of First Party payable to the order of The Toledo Newspaper Company, which notes shall be substantially in the form hereto attached marked Exhibit B and shall be jointly and severally and unconditionally guaranteed by Paul Block and Associates, Inc., and by Paul Block, an individual, which guarantees First Party also agrees to obtain.  Each of said forty (40) notes shall be dated August 1, 1938, and shall bear no interest.Paragraph III (c) of the contract provided that "In further consideration of the sale and transfer by Second Party to First Party of the assets sold and transferred to First Party under this Paragraph III" the Blade would pay to Toledo 50 percent of the tax savings realized by it through amortization of any part of the $ 780,000 to be paid under paragraph I of the contract.  The Blade*57  was to be entitled to a tax saving of $ 25,000 before any payments were required to be made to Toledo.  Thereafter Toledo was to be entitled to one-half of the tax savings up to a maximum of $ 50,000.On March 1, 1913, Toledo's business was expanding and profitable; on August 1, 1938, it was declining and unprofitable.For the five years preceding 1913 Toledo's net income after payment of taxes, average daily net paid circulation and dividends paid were as follows:Net incomeAverage dailyDividendsYearafter taxesnet paidpaidcirculation1908$ 60,522.7946,281$ 36,000190961,416.2453,84841,250191096,531.2158,741105,0001911156,856.3363,64145,0001912107,904.7667,224202,500Total483,231.33289,735429,750Average96,646.2657,94785,950*799  Toledo's balance sheets as of December 31 for the years 1908 to 1912, inclusive, were as follows:190819091910ASSETSCash and notes receivable$ 137,467.99$ 167,298.60$ 152,845.70Accounts receivable26,426.7531,895.1935,341.10Paper assets2,875.33SecuritiesInvestments in landBuilding less depreciationEquipment less depreciation62,949.0056,654.1050,359.20Toledo Times purchase150,000.00150,000.00150,000.00Total376,843.74405,847.89391,421.33LIABILITIES AND CAPITALAccounts payable17,950.0016,896.7513,209.41Notes payable35,000.00Paper liabilityCapital stock300,000.00300,000.00300,000.00Surplus58,893.7488,951.1443,211.92Total376,843.74405,847.89391,421.33*58 19111912ASSETSCash and notes receivable$ 262,873.90$ 97,583.97Accounts receivable34,618.8244,088.62Paper assets4,842.81909.73Securities60,000.00Investments in land35,000.00Building less depreciation78,400.00Equipment less depreciation44,064.30101,484.00Toledo Times purchaseTotal406,399.83357,466.32LIABILITIES AND CAPITALAccounts payable10,361.4211,239.20Notes payable20,000.0010,000.00Paper liability16,017.009,262.98Capital stock300,000.00300,000.00Surplus60,021.4126,964.14Total406,399.83357,466.32Toledo's average tangible assets for the five-year period prior to December 31, 1912, were $ 387,595.82.The circulation and income of Toledo continued to rise until 1916 and 1917, respectively.  The average daily net paid circulation rose from 46,281 in 1908 to 91,332 in 1916.  The net income after taxes rose from $ 60,552.79 in 1908 to $ 245,574.02 in 1917.  From the period of the first World War through 1929 circulation fluctuated between 70,864 and 96,704, and the net income after taxes ranged between $ 109,000 and $ 232,000.  In 1930 the income dropped to $ 23,002.88, and since that*59  time Toledo has never had any net income. The circulation also declined steadily after 1929, except for a slight rise in 1934 and 1935, until it reached 47,816 in 1938, which was only slightly larger than the circulation in 1908.  During the period from 1908 to 1932, inclusive, Toledo paid total dividends of $ 3,204,301.19.For the period of five years and seven months preceding August 2, 1938, Toledo paid no dividends and instead of realizing a net income it had a net loss for each year.  Its net losses and average daily net paid circulation for this period were as follows:Net lossesAverage dailyYearafter taxesnet paidcirculation1933$ 98,058.8659,1871934113,070.6061,5101935120,263.3866,379193647,769.4654,666193713,541.0750,884To Aug. 2, 1938213,393.6247,816*800  No tangible assets were sold to the Blade under the above mentioned contract dated August 1, 1938.  Toledo suspended publication of "The Toledo News-Bee" with the publication of the regular editions on August 2, 1938, and transferred to the Blade all of its intangible assets in accordance with the contract dated August 1, 1938.  Toledo has not published a newspaper*60  in Toledo, Ohio, since August 2, 1938.  All of the notes of the Blade delivered to Toledo which have matured since August 1, 1938, have been paid when due.The fair market value on March 1, 1913, of the intangible assets, including good will, transferred to the Blade in accordance with the contract dated August 1, 1938, was $ 437,590.60.  There is no evidence as to the cost to Toledo of such intangible assets.Facts Concerning San Diego Sun Publishing Co., Ltd.San Diego Sun Publishing Co., Ltd., hereinafter sometimes referred to as "San Diego," is a California corporation, with its principal office at Cincinnati, Ohio.  It filed its corporation income and excess profits tax return for the calendar year 1939 with the collector for the first district of Ohio.  Its books were kept on a cash receipts and disbursements basis.The business of San Diego was the publication of the daily newspaper "The San Diego Sun" in the city of San Diego, California, from November 2, 1914, until November 25, 1939.  Prior to November 2, 1914, "The San Diego Sun" was owned and published by the San Diegan Sun Co.  San Diego acquired all the assets of the San Diegan Sun Co. on November 2, 1914, as the*61  result of a tax-free exchange, within the meaning of sections 112 (b) (4) and 113 (a) (6) of the Revenue Act of 1938.  The books of the San Diegan Sun Co. were also kept on a cash receipts and disbursements basis.On November 17, 1939, the Union-Tribune Publishing Co., a California corporation, hereinafter sometimes referred to as "the Union-Tribune," entered into a written contract as first party with San Diego as second party and the E. W. Scripps Co. as third party.The contract contained provisions substantially the same as those contained in the Toledo contract.  The period for which San Diego had to suspend publication was seven years and six months.  Under paragraph I of the contract, corresponding to paragraph I of the Toledo contract, the Union-Tribune agreed to pay San Diego $ 30,000 in cash and $ 30,000 on the first day of June and December of the years 1940 to 1946, inclusive. The debt was to be evidenced by a series of fourteen notes bearing no interest.  The consideration specified in paragraph III of the San Diego contract for the transfer of the name "The San Diego Sun" and the circulation route, subscription, dealer, and carrier lists was $ 120,000 payable in cash*62  upon execution of the *801  contract.  The San Diego contract did not contain a provision such as that by which the Blade was to share its tax savings with Toledo.On March 1, 1913, the business of the San Diegan Sun Co. was stable and profitable; on November 17, 1939, the business of San Diego was declining and unprofitable.For the five years preceding 1913, the San Diegan Sun Co.'s net income after payment of taxes, average daily net paid circulation, and dividends paid were as follows:Net incomeAverage dailyDividendsYearafter taxnet paidpaidcirculation1908$ 11,638.575,511$ 13,200.00190912,011.606,3793,200.00191010,983.927,4853,030.80191118,181.739,11614,149.13191225,460.6311,70814,328.65Total78,276.4540,19947,908.58Average15,655.298,0399,581.17The San Diegan Sun Co.'s balance sheets as of December 31 for the years 1908 to 1912, inclusive, and as of March 1, 1913, were as follows:190819091910ASSETSCash$ 4,444.71$ 5,518.91$ 9,746.15Accounts receivable7,716.049,882.2113,701.13Paper assets454.161,745.851,851.04Land14,600.0014,600.0014,600.00Building less depreciation20,000.0019,000.0018,000.00Equipment22,057.4522,057.4533,868.45Total69,272.3672,804.4291,766.77LIABILITIES AND CAPITALAccounts payable758.053,020.442,368.50Notes payablePaper liability1,096.99884.441,042.00Bonds25,000.0023,000.0023,000.00Capital stock10,000.0010,000.0010,000.00Surplus32,417.3235,899.5455,356.27Total69,272.3672,804.4291,766.77*63 191119121913ASSETSCash$ 9,613.80$ 11,679.72$ 12,306.67Accounts receivable15,419.7827,002.1428,535.84Paper assets4,085.994,293.673,555.65Land14,600.0014,600.0014,600.00Building less depreciation17,000.0016,130.0016,130.00Equipment35,724.4539,311.4539,311.45Total96,444.02113,016.98114,439.61LIABILITIES AND CAPITALAccounts payable3,492.805,184.623,723.11Notes payable900.00900.00Paper liability2,588.56Bonds19,000.0015,550.0015,050.00Capital stock10,000.0010,000.0010,000.00Surplus63,951.2278,793.8084,766.50Total96,444.02113,016.98114,439.61The San Diegan Sun Co.'s average tangible assets for the five-year period prior to December 31, 1912, were $ 88,660.91.For the seventeen-year period from 1915 to 1931, inclusive, the average annual net income and circulation of San Diego were $ 20,015.42 and 17,555, respectively.  San Diego has had no net income since 1931.  During the period from 1908 to 1930, inclusive, San Diego and its predecessor the San Diegan Sun Co., paid total dividends of $ 612,788.58.*802  For the five-year and almost eleven-month period*64  preceding November 25, 1939, San Diego paid no dividends, and during this period its net losses and average daily net paid circulation were as follows:Net lossesAverage dailyYearafter taxnet paidcirculation1934$ 54,653.4318,077193536,411.0520,855193642,781.5522,0371937$ 38,003.0422,177193877,917.8920,781To Nov. 25, 1939101,965.5718,369No tangible assets were sold to the Union-Tribune under the contract of sale dated November 17, 1939.  San Diego suspended publication of "The San Diego Sun" with the publication of the regular editions on November 25, 1939, and transferred to the Union-Tribune all of its intangible assets in accordance with the contract dated November 17, 1939.  Neither San Diego nor the E. W. Scripps Co. has published a newspaper in San Diego, California, since November 25, 1939.  All of the notes of the Union-Tribune delivered to San Diego which have matured since November 17, 1939, have been paid when due.The fair market value on March 1, 1913, of the intangible assets, including good will, then owned by the San Diegan Sun Co. and which were acquired by San Diego in a tax-free exchange on November 2, 1914, *65  and transferred to the Union-Tribune in accordance with the contract dated November 17, 1939, was $ 57,082.80.Facts Concerning Both Toledo and San Diego.In the purchase of a newspaper business, as a going concern, it is customary that the purchaser require of the seller, in addition to the conveyance of the assets making up the newspaper business, tangible or intangible, or both, a covenant to refrain for a reasonable period from reentering into the business of publishing a newspaper within the territory in which the newspaper of the seller circulated at that time.  This is necessary in order to prevent the seller from destroying the value of the good will of the business transferred.Any part of the stipulations of facts, including the exhibits thereto, not specifically set forth herein is incorporated herein by reference and made a part of these findings of fact.Facts Concerning the E. W. Scripps Co.At all times material to these proceedings, the E. W. Scripps Co., an Ohio corporation, was the owner of all the outstanding capital stock of San Diego.  Pursuant to a plan of complete liquidation adopted by San Diego on October 7, 1940, all of the assets of San Diego were*66  transferred to the E. W. Scripps Co., the petitioner in *803  Docket No. 110078, prior to December 31, 1940.  The E. W. Scripps Co. is liable as transferee of the property of San Diego for any deficiencies in income tax and excess profits tax, plus interest, that may be determined to be due from San Diego in Docket No. 110077.OPINION.As shown in our opening statement, the contested deficiencies result from the respondent's addition in Docket No. 110076 to the net loss disclosed by Toledo's return for 1938 of "Income received under sales agreement with The Toledo Blade Company dated August 1, 1938, $ 713,554.16"; and addition in Docket No. 110077 to the net loss disclosed by San Diego's return for 1939 of "Income received under a sales agreement with The Union-Tribune Publishing Company dated November 17, 1939, $ 483,180.46." Petitioners contest the entire dificiencies on the ground that both these adjustments are erroneous in their entirety.Toledo contends that on August 1, 1938, it sold its newspaper business for a total consideration of $ 880,000; that the March 1, 1913, value of the intangible assets sold was not less than $ 880,000; and that it, therefore, realized no gain*67  from the sale.  The respondent contends that $ 780,000 of the consideration was for Toledo's covenant not to publish a newspaper in the city of Toledo for a period of ten years; that consideration for such a covenant represents ordinary income under section 22 (a) of the Revenue Act of 1938 rather than a gain or loss from the "sale or other disposition of property" under section 111; that Toledo is not, therefore, entitled to apply against such consideration any tax "basis" under section 111; and that, since the consideration of $ 780,000 was represented by forty noninterest-bearing notes payable over a period of ten years, the discounted value of such notes on August 1, 1938, was $ 613,554.16.  The respondent also contends that $ 100,000 of the consideration was paid to Toledo for its intangible assets; that while this much of the consideration was from the "sale or other disposition of property" under section 111, Toledo has not proven any tax "basis" for the intangible assets sold; and that, therefore, the entire $ 100,000 is gain from the sale.  It may be noted that this part of the total consideration mentioned in the August 1, 1938, contract was also represented by forty noninterest-bearing*68  notes payable over a period of ten years and that the respondent did not discount these notes as he did the notes totaling $ 780,000, but no point is made by Toledo on this apparent inconsistency in the respondent's determination, and, there being no issue raised about it, we shall not discuss it further.  The respondent does not contend that Toledo realized any taxable income in 1938 by reason of paragraph III (c) of the contract with the Blade, which provision has to do with the possible saving of taxes by the purchaser.*804  San Diego and the E. W. Scripps Co. contend that on November 17, 1939, San Diego sold its newspaper business for a total consideration of $ 570,000; that the March 1, 1913, value of the intangible assets sold was not less than $ 570,000; and that San Diego, therefore, realized no gain from the sale.  The respondent contends that $ 450,000 of the consideration was for San Diego's covenant not to publish a newspaper in the city of San Diego for a period of seven years and six months; that consideration for such a covenant represents ordinary income under section 22 (a) of the Internal Revenue Code rather than a gain or loss from the "sale or other disposition*69  of property" under section 111; that San Diego is not, therefore, entitled to apply against such consideration any tax "basis" under section 111; and that, since $ 420,000 of the $ 450,000 was represented by fourteen noninterest-bearing notes of $ 30,000, each payable on the first day of June and December of the years 1940 to 1946, inclusive, the discounted value of such notes on November 17, 1939, plus the cash payment of $ 30,000, was $ 363,180.46.  The respondent also contends that $ 120,000 of the consideration was paid to San Diego for its intangible assets; that while this much of the consideration was from the "sale or other disposition of property" under section 111, San Diego and the E. W. Scripps Co. have not proven any tax "basis" for the intangible assets sold; and that, therefore, the entire $ 120,000 cash payment is gain from the sale.We shall consider first the case of Toledo.  The contract of August 1, 1938, specifically provides for two separate and distinct considerations.  These considerations are fully stated in paragraphs I and III of the contract and are copied in our findings of fact and need not be repeated here.Toledo's contention with respect to these two*70  separate considerations included in the contract is in substance that where, as here, there is a sale of a business as a single transaction, gain or loss is to be computed by comparing the total selling price of such business with the seller's statutory basis, and that this rule is not changed by the fact that in the contract of sale the consideration for the sale of intangible assets was separately stated from the consideration for ceasing to publish petitioner's newspaper and its agreement not to compete for a period of ten years and other things agreed to be done in this paragraph of the contract, inseparable from the conveyance of the business and its good will as a going concern to the purchaser. One of the cases relied upon by petitioner to support its contention on this point is Henry F. McCreery, 4 B. T . A. 967. We think this case does support petitioner's contention as we have stated it above.  In the McCreery case, among other things, we said:* * * We consider it of no importance, in this connection, that the contract provides for the payment of a specific amount for the good will and the payment *805  of a further sum to be determined*71  in the manner therein set forth, specifically for the tangible assets, but regard this as a mere agreement of the parties as to the manner in which the purchase price to be paid for the entire businesses, including good will and firm name, is to be determined.  The gain or loss realized by the partnership upon the sale of its assets and businesses should be determined by comparing the selling price with the cost and the March 1, 1913, value of the entire assets, tangible and intangible, taken as a whole.The substance of the general rule announced by the Board in the McCreery case we think should be applied to the particular facts of the instant case in computing gain on the transactions here involved.Among the authorities strongly urged by the respondent to sustain his contention that the consideration named in the contract of sale for Toledo's agreement to cease publication of its newspaper and not to compete for a period of ten years was not to be considered as a part of the selling price of the newspaper, but must be considered as gross income under section 22 (a), Revenue Act of 1938, are Cox v. Helvering, 71 Fed. (2d) 987; Salvage v. Commissioner, 76 Fed. (2d) 112;*72  affd., 297 U.S. 106"&gt;297 U.S. 106; and Beals' Estate v. Commissioner, 82 Fed. (2d) 268, affirming 31 B. T. A. 966.It is undoubtedly true that the above cases do hold that where a corporation sells out its going business to a purchaser and incidental to such transaction some officer or employee or stockholder of the selling corporation agrees with the purchaser that he will not compete for a given number of years with the purchaser of the business and the purchaser pays him a consideration for such agreement, the consideration thus received by the officer, employee, or stockholder of the selling corporation is taxable income to him under section 22 (a).  The reason for this is that he himself has sold no capital asset but has simply received a sum of money for agreeing not to compete. The court in Cox v. Helvering well stated the reason for holding such a sum taxable income to the officer, employee, or stockholder receiving it, in the following language:There is positively not one word in the record which would justify us in saying that the payment to petitioner was a capital transaction.  If the *73  $ 15,000 was paid to the selling corporation and distributed by it to its principal stockholder by some intracompany agreement, it might very well be designated, as the Commissioner designated it, a liquidating dividend, for in that case it would be a profit earned in the sale of capital assets.  On the other hand, if it was paid directly to petitioner, as an ancillary agreement with the contract, it was to its extent a gain received by him in consideration of forbearing, rather than doing, personal services.The conclusion we reach is consistent with the practice of the bureau over a long period of years, for as far back as 1920 it announced, through office decisions, the rule in such cases as follows: "Where a corporation sells its assets, including good will, to a competing corporation, one condition to the sale being an agreement by the president of the vendor corporation not to engage in similar business, for which he is paid a money consideration, the amount so received *806  by the president does not represent a conversion of capital, but is income for the year of its receipt." Commissioner's Bulletin 3, p. 93, O. D. 668.Toledo contends that the above mentioned cases are*74  distinguishable because the payments in those cases for promises not to compete were made to the stockholders of the selling corporation rather than to the selling corporation itself or to persons who were not the owner or seller of any business.We think that petitioners are correct in contending that the above cases are distinguishable on their facts from the instant case.  A reading of them will show (a) that the promise not to compete was unrelated to any sale made by the promisor and (b) that the promise not to compete did not operate as a restraint upon any property of the promisor and was not, therefore, an inherent part of anything sold by the promisor.As a part of our findings of fact both as to Toledo and San Diego we have found upon evidence introduced by petitioners at the hearing that:In the purchase of a newspaper business, as a going concern, it is customary that the purchaser require of the seller, in addition to the conveyance of the assets making up the newspaper business, tangible or intangible, or both, a covenant to refrain for a reasonable period from reentering into the business of publishing a newspaper within the territory in which the newspaper of the seller*75  circulated at that time.  This is necessary in order to prevent the seller from destroying the value of the good will of the business transferred.Therefore, because of these and other facts included in our findings, we hold that the entire consideration received by petitioners under the contracts must be treated as one in computing petitioners' gain from the sale, and the Commissioner was not warranted in treating the consideration specified in paragraph I of the contract as income in its entirety under section 22 (a).In addition to contending that the entire consideration must be treated as one in computing gain or loss, a contention which as above stated we sustain, Toledo also strongly argues that its going business was sold in 1938 at no greater price than its March 1, 1913, value, and therefore there was no taxable gain on the transaction.  Petitioner urges in support of this contention the case of Pfleghar Hardware Specialty Co. v. Blair, 30 Fed. (2d) 614. In that case the court did hold that the Board erred in finding that there was no evidence to show what the March 1, 1913, value of the good will of the Pfleghar Hardware*76  Specialty Co. was; the court further held that this March 1, 1913, value must be included as a part of the taxpayer's basis in determining gain, if any, from the sale; that the value of this good will as of March 1, 1913, was at least $ 113,888.25; and that the Board should have so found, and when this March 1, 1913, value of $ 113,888.25 for good will was used as a part of the taxpayer's basis there was no gain to it on the sale.  While the Pfleghar Hardware Specialty Co. case, *807 supra, does support petitioner's contention that the March 1, 1913, value of its intangibles, including good will, must be considered in determining the gain, if any, which petitioner realized from the sale of its going business in 1938, it is needless to say that the March 1, 1913, value of intangibles, including good will, of a going business depends upon the evidence in each case.  Merely because the court held in the Pfleghar Hardware Specialty Co. case that the sale price received for the going business in 1919 was less than its statutory basis, including March 1, 1913, value of good will, and therefore there was no gain on the sale, is no reason that we should so hold in the instant*77  case.  What we should hold in that respect depends upon the evidence in the instant case, and, for reasons which we shall presently state, we do not hold that the March 1, 1913, value of Toledo's intangibles, including its good will, was greater than the total price received in 1938 under the contract of sale.We should perhaps point out that Toledo's basis for determining gain from the sale which it made is defined differently from its basis for determining loss.  Its basis (unadjusted) for determining gain is cost or March 1, 1913, value, whichever is greater.  Sec. 113 (a) (14), Revenue Act of 1938.  1*78  Its basis as of March 1, 1913, for determining loss "is the cost or other basis provided for such property under section 113 (a) adjusted as required by section 113 (b), but without reference to the fair market value of the property as of March 1, 1913." Art. 113 (a) (14)-1, Regulations 101.  Did Toledo realize any gain upon the sale involved in this proceeding, treating the entire consideration together as one, as we think it should be treated?  Toledo does not claim that it sustained any loss upon the sale.  Furthermore it has offered no evidence of its statutory basis for the computation of a loss, which is a prerequisite to the determination of any loss.  As previously stated, its statutory basis for determining gain is cost or March 1, 1913, value, whichever is greater.In its petition Toledo alleges that "The March 1, 1913 value of the intangible assets sold to The Toledo Blade Company under the contract of sale dated August 1, 1938 was not less than $ 880,000." The respondent contends that Toledo has proven no basis for either gain or loss and that his determination that the entire $ 100,000, specified as being paid to petitioner for intangibles, represents gain should *79  be *808  approved, as well as the amount received for the agreement to cease publication and not to compete for a period of ten years.  In its brief Toledo argues in part as follows:Since no physical property is involved in the instant case, and since no loss is claimed by the petitioner, the sole question is whether the value of the petitioner's business on March 1, 1913 was greater or less than its value on August 1, 1938.  This is purely a matter of comparative value and actual values need not be determined.  Pfleghar Hardware Specialty Co. v. Blair, 30 F. (2d) 614, 617-18, 7 A. F. T. R. 8462; Fidelity Trust Co., 3 B. T. A. 292.The parties have stipulated that Toledo "transferred to The Toledo Blade Company all of its intangible assets in accordance with said contract dated August 1, 1938." This would include any good will owned by Toledo on March 1, 1913.  The applicable regulations on the sale of good will are Regulations 101, art. 22 (a)-10, and are printed in the margin.  2*80  As a part of the record in this case the parties have placed in evidence Toledo's balance sheets for the five years prior to December 31, 1912, from which we find that Toledo's average tangible assets for that period were $ 387,595.82.  The parties have also stipulated that Toledo's average income over the same period was $ 96,646.26.In Herald-Despatch Co., 4 B. T. A. 1096, 1107, one of the questions involved the determination of gain or loss from the sale of a newspaper business in 1920 which had been organized in 1890.  There "The March 1, 1913, value of intangibles was determined by the Commissioner by deducting from the average earnings of the five years next preceding 1913 an amount equivalent to 8 percent of the average tangibles for the same period, and capitalizing the remainder at the rate of 15 percent." We approved that determination, which was based upon the formula (A. R. M. 34) referred to in the Pfleghar case.  We have used this same formula in arriving at the March 1, 1913, value of Toledo's intangibles, including good will, set out in our findings of fact. See Mertens Law of Federal Income Taxation, vol. 10, sec. 59.42.  In the*81  section above mentioned the author, among other things, in discussing the use of formulae in determining the value of good will on a given date, says:It is important to appreciate fully that the use of these formulae and the determination of the proper rates depend upon all the other existing factors of value.  It is simply a method of determining a value by reference to the return which the investor would demand under all the circumstances involved. * * **809  We wish to make it clear that in using the formulae which we have used in the instant case in arriving at the March 1, 1913, value of Toledo's intangibles, including good will, we do not mean to indicate that is the only method to be used in arriving at the value of good will of a going business.  There may be many other factors which should be considered in a given case.  But in the instant case, under the evidence which we have before us, we feel that the only practicable way to arrive at the March 1, 1913, value of Toledo's intangibles, including good will, is by use of the formulae which we have used.  The March 1, 1913, fair market value of Toledo's intangibles, including good will, set out in our findings of fact, *82  is $ 437,590.60.  This represents the basis (unadjusted) for determination of gain under section 113 (a) (14), supra.  Section 113 (b) of the Revenue Act of 1938 provides:(b) Adjusted Basis.  -- The adjusted basis for determining the gain or loss from the sale or other disposition of property, whenever acquired, shall be the basis determined under subsection (a), adjusted as hereinafter provided.The respondent does not contend that any of the "hereinafter" provisions referred to in section 113 (b), supra, are applicable in these proceedings.No deduction for depreciation, including obsolescence, is allowable to a taxpayer in respect of good will.  See art. 23 (1) (3), Regulations 101.  Likewise, it has been held that a newspaper subscription list, because it has no definite life, is not subject to depreciation or obsolescence allowances.  Danville Press, Inc., 1 B. T. A. 1171. See also Meredith Publishing Co. v. Commissioner, 64 Fed. (2d) 890. Therefore, the March 1, 1913, value of petitioner's intangibles, including good will, which were sold in the contract of August 1, 1938, does not have to be adjusted*83  for depreciation or obsolescence, if any, occurring between March 1, 1913, and the date of sale, for no deductions with respect thereto were allowable to Toledo in the computation of its net income during such period.It follows that Toledo's gain from the sale of its newspaper business, coupled with an agreement to cease publication and not to compete for a period of ten years, will be computed by taking the total consideration received therefrom as determined by the Commissioner, $ 713,554.16, and subtracting therefrom $ 437,590.60, the March 1, 1913, value of Toledo's intangibles, including good will.We shall now consider the case of San Diego.  As far as principles of law are concerned, the contentions of the parties here are the same as in the case of Toledo, and we think it is unnecessary to restate them.  The respondent does not question the proposition that, as in the case of Toledo, San Diego's basis for determining gain on the sale in 1939 of the intangible assets is the March 1, 1913, value of such assets.  *810  Since the parties have tried and briefed the case on that proposition, we are not inclined to question its correctness.  In its petition San Diego alleges*84  that "The March 1, 1913 value of the intangible assets sold to The Union-Tribune Publishing Company by the petitioner was not less than $ 570,000," and, therefore, there was no gain to San Diego in the transaction.  The respondent contends that no March 1, 1913, value has been proven.  Applying the same formula as we used in the case of Toledo, we have found that the March 1, 1913, value of San Diego's intangible assets, including good will, was the amount of $ 57,082.80.  See Pfleghar Hardware Specialty Co. v. Blair, supra.It follows that San Diego's gain from the sale of its newspaper business, coupled with an agreement to cease publication and not to compete for a period of seven years and six months, will be computed by taking the total consideration received from the transaction as determined by the Commissioner, $ 483,180.46, and subtracting therefrom $ 57,082.80, the March 1, 1913, value of San Diego's intangible assets, including good will.  Since it has been agreed by the parties that the E. W. Scripps Co. is liable as transferee of the property of San Diego for any deficiencies in income tax and excess profits tax, plus *85  interest, that may be determined to be due from San Diego in Docket No. 110077, that fact will be given effect in a decision under Rule 50.Decisions will be entered under Rule 50.  Footnotes1. SEC. 113. ADJUSTED BASIS FOR DETERMINING GAIN OR LOSS.(a) Basis (Unadjusted) of Property.  -- The basis of property shall be the cost of such property; except that --* * * *(14) Property acquired before March 1, 1913.  -- In the case of property acquired before March 1, 1913, if the basis otherwise determined under this subsection, adjusted (for the period prior to March 1, 1913) as provided in subsection (b), is less than the fair market value of the property as of March 1, 1913, then the basis for determining gain shall be such fair market value. * * *↩2. Art. 22 (a)-10.  Sale of good will↩.  -- Gain or loss from a sale of good will results only when the business, or a part of it, to which the good will attaches is sold, in which case the gain or loss will be determined by comparing the sale price with the cost or other basis of the assets, including good will.  (See articles 111-1, 113 (a) (14)-1, 113 (b)-1, 113 (b)-2, and 113 (b)-3.) If specific payment was not made for good will there can be no deductible loss with respect thereto, but gain may be realized from the sale of good will built up through expenditures which have been currently deducted.  It is immaterial that good will may never have been carried on the books as an asset, but the burden of proof is on the taxpayer to establish the cost or other basis of the good will sold.